        Case 1:08-cv-00705-JDB Document 211 Filed 04/08/13 Page 1 of 19




                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA



 TRITA PARSI and NATIONAL
 IRANIAN AMERICAN COUNCIL,

         Plaintiffs,
                v.                                   Civil Action No. 08-705 (JDB)


 SEID HASSAN DAIOLESLAM,

         Defendant.


                           MEMORANDUM OPINION & ORDER

       Before the Court is [194] defendant Seid Hassan Daioleslam's final bill of recoverable

costs. Pursuant to [190] [191] the Court's September 13, 2012 Memorandum Opinion and Order

granting in part and denying in part defendant's omnibus motion for sanctions, defendant seeks

reimbursement for the following: (1) 60% of the expenses of bringing [143] defendant's omnibus

sanctions motion; (2) the last two rounds of forensic imaging by PricewaterhouseCoopers

("PwC"); (3) the expenses of bringing [112] [113] defendant's motions to compel production of

plaintiff National Iranian American Council's ["NIAC"] server, Salesforce data, and membership

lists; (4) one half of the expenses of Babak Talebi's deposition; (5) the expenses of obtaining [93]

the Court's March 29, 2011 Order relating to Talebi's emails; (6) the expenses of serving

subpoenas to obtain third-party emails; (7) one half of the expenses of the last half day of

plaintiff Trita Parsi's deposition; and (8) one half of the expenses of the second day of Emily

Blout's deposition. Defendant also seeks additional costs as the prevailing party under Federal

Rule of Civil Procedure 54(d). He claims $284,223.34 in total, plus prejudgment and

                                                 1
             Case 1:08-cv-00705-JDB Document 211 Filed 04/08/13 Page 2 of 19




postjudgment interest. See Def.'s Reply in Supp. of Bill of Costs [ECF 199] ("Def.'s Reply") 9.

Plaintiffs NIAC and Parsi argue that defendant's bill of costs should be denied or substantially

reduced. For the reasons set forth below, the Court will award fees and expenses in the reduced

amount of $183,480.09.1

         A district court has broad discretion in determining the size of a sanctions award. See

Beck v. Test Masters Educ. Servs., Inc., No. 04-1391, 2013 WL 772879, at *7 (D.D.C. Mar. 1,

2013); Tequila Centinela, S.A. de C.V. v. Bacardi & Co., 248 F.R.D. 64, 68 (D.D.C. 2008). The

party requesting fees and expenses has the burden of proving that its request is reasonable. See

Beck, 2013 WL 772879, at *7; see also Am. Petroleum Inst. v. EPA, 72 F.3d 907, 912 (D.C. Cir.

1996). If the party opposing the fee request raises specific objections, the Court has discretion to

adjust the fee award in light of those objections. See Tequila Centinela, 248 F.R.D. at 68.

         The Court will consider the reasonableness of each component of defendant's bill of

costs.

         A.       Sanctions Motion

         Defendant claims $33,279.91 in fees and expenses for bringing the sanctions motion. See

Def.'s Final Bill of Recoverable Costs [ECF 194] ("Def.'s Bill of Costs") 1.2 Plaintiffs argue that

defendant's request has several defects, the first being that the time spent on the sanctions motion


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          Also before the Court are [200] plaintiffs' motion for leave to file a surreply and [202]
plaintiffs' motion to strike [201] defendant's verification of his final bill of recoverable costs.
Plaintiffs' motion for leave to file a surreply will be granted, as defendant attached new materials
to his reply, see Def.'s Reply, Exs. 1-4, and arguably raised new fact issues related to the forensic
imagings, see Def.'s Reply 2-4. Plaintiffs' motion to strike will be denied as meritless;
defendant's verification meets the requirements of 28 U.S.C. § 1924.
         2
       The Court has subtracted the amount erroneously claimed for work on defendant's
summary judgment motion. See Def.'s Reply 8 n.5.

                                                  2
          Case 1:08-cv-00705-JDB Document 211 Filed 04/08/13 Page 3 of 19




by senior partner Timothy Kapshandy is unreasonable. See Pls.' Objections to Def.'s Bill of

Costs [ECF 198] ("Pls.' Objections") 9. Kapshandy claimed 39.3 hours on the motion, compared

to a combined 35 hours claimed by two more junior attorneys on the motion. See Def.'s Bill of

Costs, Ex. A. Plaintiffs argue that, rather than draft substantial portions of the motion himself,

Kapshandy should have delegated the drafting to junior attorneys and spent most if not all of his

time reviewing and editing the drafts. They ask the Court to reduce Kapshandy's hours using the

formula set forth in Mitchell v. National Railroad Passenger Corp., 217 F.R.D. 53, 60 (D.D.C.

2003).

         The Court declines to do so based on the specific circumstances of this case. It is not

unreasonable that just over one half of the attorney hours spent on the sanctions motion – an

omnibus motion based on eight separate areas of discovery – were spent by a senior partner.

Kapshandy was the lead attorney on the case throughout the more-than-two-year discovery period

preceding the sanctions motion, and it likely was more efficient (and cheaper) for Kapshandy to

take a larger role in drafting that motion, which was based on facts of which he had firsthand

knowledge, than he might otherwise have taken. See Am. Petroleum Inst., 72 F.3d at 916

(making "no adjustment for the allocation of time between partners and associates"); Mitchell,

217 F.R.D. at 58 ("[I]nexperienced lawyers, although they bill at a lower rate, may burn up many

hours doing tasks that their seniors could have accomplished more efficiently and cheaply.").

         Nevertheless, it remains defendant's burden to show the reasonableness of each element

of his fee request. See New Jersey v. EPA, 703 F.3d 110, 115 (D.C. Cir. 2012) (per curiam).

Although the 74.3 hours claimed for attorney work on a motion and reply totaling 69 pages do

not appear grossly excessive, 74 hours is still a significant amount of time. Yet Kapshandy's


                                                  3
           Case 1:08-cv-00705-JDB Document 211 Filed 04/08/13 Page 4 of 19




billing entries – which consist almost exclusively of descriptions like "Review and revise motion

for sanctions," "Draft and revise sanctions motion," and "Reply to sanctions motion" – make it

hard to tell whether the nearly 40 hours claimed for drafting, reviewing, and revising were

reasonably expended.3 See New Jersey, 703 F.3d at 115-16 (finding many similar entries, such

as "[c]ontinue drafting/revising of mercury brief" and "[d]raft reply brief," inadequate to justify

hours claimed); Role Models Am., Inc. v. Brownlee, 353 F.3d 962, 970 (D.C. Cir. 2004)

("Supporting documentation must be of sufficient detail and probative value to enable the court

to determine with a high degree of certainty that such hours were actually and reasonably

expended." (internal quotation marks and alteration omitted)); Def.'s Bill of Costs, Ex. A. The

Court therefore finds that a modest, 10% reduction to Kapshandy's hours is appropriate, but it

will not make the drastic reduction (to 7.3 hours) requested by plaintiffs. See Beck, 2013 WL

772879, at *10 (reducing hours by 10% where descriptions "le[ft] some remaining question about

the reasonableness of the hours spent"); DL v. District of Columbia, 256 F.R.D. 239, 246

(D.D.C. 2009) (applying 10% reduction for "vague time entries"); Pls.' Objections 10.

       Plaintiffs next challenge the amount requested for non-attorney work on the sanctions

motion. Defendant seeks compensation for 25.05 hours spent by legal assistant Meredith Dudley

and 166.6 hours spent by legal assistant Jeffery Tisak. See Def.'s Bill of Costs, Ex. A. Tisak's

time entries all say one of two things: "Review NIAC documents for sanctions motion as per T.



       3
          This is especially evident when Kapshandy's entries are viewed alongside the more
detailed entries of associate Thomas Ross, whose 31 hours comprised the majority of attorney
hours other than Kapshandy's. See, e.g., Def.'s Bill of Costs, Ex. A (9/12/11 Ross entry stating
"Review case law for sanctions motion (0.3); email conversation with T. Kapshandy re: same
(0.1); telephone conversation with M. Dudley re: filing sanctions motion (0.1); review and revise
latest draft of sanctions motion (0.7)").

                                                  4
        Case 1:08-cv-00705-JDB Document 211 Filed 04/08/13 Page 5 of 19




Kapshandy," or, on and after October 3, 2011, "Review NIAC documents for upcoming sanctions

motion response as per T. Kapshandy." See id. No explanation is given as to why Tisak needed

to spend the equivalent of more than four 40-hour weeks reviewing documents related to the

sanctions motion and reply. Tisak's repetitive, generic entries are entirely inadequate, as they

provide no basis for the Court to determine the reasonableness of the hours expended. See New

Jersey, 703 F.3d at 115 (stating that "such entries are 'inadequate to meet a fee applicant's heavy

obligation to present well-documented claims'" (quoting Role Models, 353 F.3d at 971));

Conservation Force v. Salazar, No. 10-1057, 2013 WL 66210, at *11 (D.D.C. Jan. 7, 2013).

Tisak's entries are inadequate not just in relation to the sanctions motion; they are inadequate for

essentially all of his time shown on defendant's bill of costs. See Def.'s Bill of Costs, Exs. C, D,

E, G, H (showing repetitive entries like "Review NIAC documents for Motion to Compel Server

as per T. Kapshandy" and "Review NIAC documents as per T. Kapshandy"). Although the Court

does not doubt that Tisak spent time reviewing documents and doing other work on this case,

defendant has not provided sufficiently detailed documentation for the Court to determine that

Tisak's many hours "were actually and reasonably expended." See Role Models, 353 F.3d at 970

(emphasis added) (internal quotation marks omitted). Accordingly, the Court will apply an

across-the-board reduction of 50% to all hours claimed for Tisak's work. Compare New Jersey,

703 F.3d at 115-16 (applying 75% reduction to "patently excessive" fee request).

       Dudley's entries, which also lack specificity, are marginally better than Tisak's. Dudley's

entries vary at least somewhat and show that she "[p]repare[d] exhibits," "[o]rganize[d] sets of

documents," and "prepar[ed] reference materials," all in relation to defendant's sanctions motion.

See Def.'s Bill of Costs, Ex. A. In addition, the 25 hours claimed by Dudley seem inherently


                                                  5
          Case 1:08-cv-00705-JDB Document 211 Filed 04/08/13 Page 6 of 19




more reasonable than the 160-plus hours claimed by Tisak. Hence, the Court will reduce the

hours claimed for Dudley's work by only 10%.

       Plaintiffs' final challenge is to the expenses (e.g., copying, research, and travel charges)

claimed by defendant in relation to the sanctions motion. Plaintiffs correctly observe that there

are inconsistencies between defendant's billing records and some of the research charges listed.

Namely, the following charges lack a corresponding billing entry and hence will be subtracted

from the total expenses claimed: a $2,080.03 Lexis charge incurred by Tisak on September 8,

2011; a $86.82 Lexis charge incurred by Ross on September 26, 2011; a $16.17 Lexis charge

incurred by Ross on September 27, 2011; and a $114.92 Westlaw charge incurred by Dudley on

November 10, 2011. See Def.'s Bill of Costs, Ex. A. Plaintiffs also argue that defendant should

not be reimbursed for the travel costs associated with the July 2012 motions hearing because

defendant also argued several other motions, including the summary judgment motion, at that

hearing. Because defendant would have incurred these travel costs even if there had been no

sanctions motion, the Court agrees that they should deducted from the expenses claimed.

       Making the above-described reductions, the Court will award $25,242.17 on the sanctions

motion.

       B.      Forensic Imaging

       By far the largest expense on defendant's bill of costs, and the expense most vigorously

contested by plaintiffs, is that covering the last two rounds of PwC forensic imaging. Defendant

claims $8,570 in attorney time spent on the imaging and seeks reimbursement of $136,224.32

charged by PwC for the imaging. See Def.'s Bill of Costs, Ex. B.

       Plaintiffs do not challenge the attorney time spent on the imaging, but they raise


                                                 6
        Case 1:08-cv-00705-JDB Document 211 Filed 04/08/13 Page 7 of 19




numerous complaints about the PwC charges. First, plaintiffs argue that the documentation of

the PwC imaging charges provided by defendant is "[w]oefully [d]eficient." See Pls.' Objections

3. Indeed, all that defendant has provided are the two invoices from PwC (one for each of the

last two rounds), each containing a one-page summary of charges. The charges are broken down

into hourly fees and expenses, and the services and activities performed are listed. See Def.'s Bill

of Costs, Ex. B. As plaintiffs point out, however, the summary gives no information on the type

of work done by each employee. See Pls.' Objections 3. In addition, plaintiffs complain about

the sizeable amounts of time billed by PwC managers and directors (relative to "staff") and by

PwC employees based in Chicago, when the imaging was done in Washington, D.C. See id. The

Court agrees that the PwC invoices are not well documented, but it is reluctant to place all fault

on defendant for an outside consultant's shortcomings. After all, had plaintiffs produced all

relevant computers and the shared-drive server from the beginning, defendant would have been

responsible for the imaging costs in full. Nevertheless, it is defendant's burden to show the

reasonableness of each element of his expense request, and defendant has provided absolutely

nothing to show that two rounds of forensic imaging should cost upwards of $136,000. See, e.g.,

Pls.' Objections 4 (suggesting that invoice for first round of imaging would allow helpful

comparison of charges); Pls.' Surreply in Opp'n to Def.'s Bill of Costs [ECF 200-1] ("Pls.'

Surreply") 3-5 (asserting insufficient showing of reasonableness as to second round of imaging).

Hence, an across-the-board percentage reduction is warranted. Before applying this reduction,

however, the Court will address plaintiffs' challenges to particular charges on the PwC invoices.

       Plaintiffs argue that all charges for forensic analysis should be excluded because, they

say, this Court "specifically differentiate[d] between the costs for forensic imaging which it


                                                 7
        Case 1:08-cv-00705-JDB Document 211 Filed 04/08/13 Page 8 of 19




ordered recoverable in the Sanctions order; from the cost[s] for forensic analysis which the Court

ordered are not recoverable." See Pls.' Objections 4. Plaintiffs are incorrect. In ordering a

"lesser amount" of fee shifting, the Court did not intend to distinguish between forensic imaging

and forensic analysis, but rather intended to hold plaintiffs accountable for the extra cost of the

forensic process that became necessary because of plaintiffs' failure to produce, at the outset, all

devices on which relevant data might have been stored. See id. at 5 (quoting Mem. Op. (Sept.

13, 2012) [ECF 190] 4-5). In other words, the Court shifted to plaintiffs the incremental costs

caused by their conduct.

       Plaintiffs also object to several specific items on the PwC invoices that they claim are

unrelated to the forensic imaging ordered by the Court. See Pls.' Objections 6-8. These include:

(1) charges for "troubleshooting" and "server hardware," ostensibly incurred because PwC did

not properly reassemble the NIAC shared drive after the second round of imaging; (2) charges for

"Review[ing] and respon[ding] to" plaintiffs' filings on the motions to compel and motion for

sanctions; (3) a charge for "Reproduction of deliverables from initial report"; and (4) PwC

employees' travel expenses for the third round of imaging. Each item merits brief discussion.

       First, it appears that PwC in fact reassembled the NIAC shared drive improperly and, as a

result, had to purchase an additional device (the "server hardware") and spend time

"troubleshooting" and fixing its mistake. See Pls.' Objections 6-7 & nn.2-4; id., Ex. A, Decl. of

Marc Hirschfield ("Hirschfield Decl.") ¶ 12; id., Ex. C, Decl. of David Elliott ("Elliott Decl.")

(describing how PwC technician came to NIAC's office to fix device). Plaintiffs are not

responsible for the costs of PwC's mistakes. As defendant has not contested plaintiffs' assertions

that the server hardware and troubleshooting charges were caused by PwC's mistakes, the Court


                                                  8
           Case 1:08-cv-00705-JDB Document 211 Filed 04/08/13 Page 9 of 19




will deduct $576.79 for server hardware and $1,320 for troubleshooting.4 Second, reviewing and

responding to plaintiff's filings are not forensic imaging or analysis activities. Defendant has not

shown the reasonableness of paying PwC for assistance beyond the imaging and analysis ordered

by the Court. See Def.'s Reply 4 (stating that PwC charges for assistance are recoverable but not

explaining what assistance was given or why it was needed). Hence, the charges of $14,894 and

$12,477.70 for "[R]eview[ing] and respon[ding]" will be deducted. Third, reproduction of

deliverables from the initial report is exactly the sort of redundant activity that would not have

been necessary if there had been only one round of imaging and all "deliverables" could have

been produced together. Hence, the reproduction charge will not be deducted. Fourth, as to

plaintiffs' objection to paying the expenses of Chicago-based PwC employees to travel to

Washington, D.C., the Court concludes that a partial reduction is warranted. It is understandable

that, given the location of defendant's lead counsel in Chicago, PwC may have thought it prudent

to send one or more employees from its Chicago office to be present at the imaging site. But

again, defendant has not given any justification for the actual amount spent, so the Court will

deduct one half of the $2,119.13 in charges for transportation, accommodation, and meals during

the third round of imaging.

       Finally, plaintiffs stress that, in granting sanctions related to the imaging, this Court relied

on defendant's unsupported "expla[nation] at the motions hearing that conducting three separate



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          This latter amount represents four hours (the Court's guess, and it can only be a guess, as
to how much time was spent troubleshooting and actually correcting the improper reassembly) at
$330 per hour, the amount billed by PwC staff member Bradley Wilson. See Elliott Decl. ¶¶ 2,
4-9 (stating that "a gentleman from PwC by the name of Brad" came to fix the device and
describing the actual correction process as something done in a short amount of time); Def.'s Bill
of Costs, Ex. B (showing billing rate for Bradley Wilson).

                                                  9
       Case 1:08-cv-00705-JDB Document 211 Filed 04/08/13 Page 10 of 19




imaging sessions cost far more than conducting one larger imaging session." See Pls.' Objections

5 (quoting 9/13/12 Mem. Op. 5). But it does not require an expert to conclude that doing three

rounds of imaging was far less efficient, and hence more costly, than doing just one. See id.

(complaining that defendant did not provide expert testimony to show that three rounds cost

more than one).5 Extra time had to be spent on the second and third rounds, and the analysis

became more complex because data extracted during the later imagings had to be compared

(three times instead of one) to data that had already been produced. The total hourly fees charged

by PwC, then, were necessarily higher than they would have been if the imaging had been done at

one time.

       However, not all costs increased to the same degree because of the additional imaging

sessions. For example, the cost of hard drives to store the forensic images would presumably

have been roughly the same even if all of the imaging had been done at one time. See

Hirschfield Decl. ¶ 9. And even some fraction of the additional hourly fees would likely have

been incurred if the devices imaged later had instead been produced at the outset. Because

defendant should be reimbursed only for the added forensic imaging costs caused by plaintiffs'

conduct, a reduction for costs that would have been incurred in any case will be made. See

Tequila Centinela, 248 F.R.D. at 69 (requiring a "near but for" relationship between Rule 37

violation and activity for which fees and expenses awarded). The Court will deduct the cost of

the hard drives ($180.98 on the second round of imaging and $1,147.99 on the third round),6 and


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        Plaintiffs' arguments about PwC's broad access to the drives during the third round of
imaging do not alter this conclusion. See Pls.' Surreply 2-3.
       6
         The Court will not resolve the parties' internal dispute about their agreement (or lack
thereof) concerning the hard drives. See Def.'s Reply 3 (explaining that defendant agreed to let

                                                10
        Case 1:08-cv-00705-JDB Document 211 Filed 04/08/13 Page 11 of 19




will deduct 33% of the remaining compensable PwC fees and expenses.7

       Subtracting the troubleshooting and server hardware charges, the reviewing and

responding charges, one half of the PwC travel expenses for the third round of imaging, and the

cost of the hard drives, and reducing the remaining amount by 33%, leaves $70,060.09. Because

this represents a substantial reduction and is based largely on the lack of justification for

particular charges on the PwC invoices, the Court will apply a further reduction of only 10% for

defendant's inadequate showing of reasonableness generally. See Beck, 2013 WL 772879, at

*10; Tequila Centinela, 248 F.R.D. at 72 (applying 10% reduction to account for billing of

redundant time after court had already reduced claimed number of hours from 199.08 to 67).

Applying this 10% reduction and adding the reduced amount ($63,054.08) to the attorney fees

claimed for the imaging results in an award of $71,624.08.

       C.      Motions to Compel

       Defendant requests $25,028.70 in fees and expenses related to his motions to compel



plaintiffs have custody of hard drives while case was pending but told plaintiffs that, once case
was over, plaintiffs either had to reimburse PwC for cost of hard drives or return them after
wiping data); see also id., Exs. 1-A, 1-B. The Court encourages the parties to abide by any
agreements between themselves but declines to take action on an issue not covered by its
sanctions order.
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         Plaintiffs have provided a declaration stating that the additional fees for doing the
imaging in three rounds instead of one could have been at most $1,500, or 5 hours at $300 per
hour. See Hirschfield Decl. ¶ 10. Given that PwC employees spent a combined 344.7 hours on
the second and third rounds of imaging, the Court simply does not find this estimate credible.
See Def.'s Bill of Costs, Ex. B. It is extremely improbable that, had the imaging been done all at
once, just five of those 344.7 hours would have been saved.
        Because the charges listed in PwC's invoices cannot easily be separated into charges that
would have been incurred if there had been just one imaging and those that were incurred
because there were multiple imagings, the Court will make a fixed, 33% reduction to reflect its
rough estimate of forensic imaging charges that would have been incurred in any event.

                                                  11
        Case 1:08-cv-00705-JDB Document 211 Filed 04/08/13 Page 12 of 19




production of NIAC's server and the Salesforce membership lists. As with defendant's fee

request for the sanctions motion, plaintiffs' primary objection is to the amount of time spent on

the motions to compel by senior partner Timothy Kapshandy. See Pls.' Objections 12; Pls.' Reply

in Supp. of Exceptions to Def.'s Initial Bill of Costs [ECF 149] 2-3. The Court finds that

Kapshandy's entries on the motions to compel suffer from the same lack of detail noted in Part A,

making a 10% reduction appropriate. See DL, 256 F.R.D. at 246; Def.'s Bill of Costs, Ex. C

(Kapshandy entries like "Draft motion to compel server," "Draft motion to compel member lists,"

and "Review and revise reply to server motions"). But a greater reduction, such as the more-

than-20-hour reduction urged by plaintiffs, is not warranted. See Pls.' Objections 12. Like

defendant's omnibus sanctions motion, the two motions to compel involved discovery issues that

were by nature fact-specific and time-consuming, and hence required considerable attention by a

senior partner. Plaintiffs cannot now complain that they must reimburse defendant for the

troubles that his attorneys had to go through to gain cooperation in discovery. As this Court said

recently in another case involving a similarly contentious discovery dispute, "the time-consuming

nature of [discovery-related] motions is a significant reason cost-shifting is appropriate when a

party resists discovery without substantial justification." See Beck, 2013 WL 772879, at *10

n.10. Plaintiffs' present objections regarding the time spent by Kapshandy are particularly

unpersuasive in light of the fact that, when plaintiffs first complained about the attorney hours

spent on the motions to compel, they did not question the proportion of hours billed by

Kapshandy but rather suggested that the number of hours billed by junior associate Thomas Ross

was excessive. See Pls.' Supp'l Exceptions to Def.'s Initial Bill of Costs [ECF 146] 8 (suggesting

that Ross "was permitted to bill so many hours on the two motions at issue as a way of giving


                                                 12
        Case 1:08-cv-00705-JDB Document 211 Filed 04/08/13 Page 13 of 19




him experience/training"). Plaintiffs appear to claim both "insufficient [and] excessive

delegation," see Mitchell, 217 F.R.D. at 58, but the Court does not find either to have been the

case here.

       Plaintiffs also challenge the non-attorney time spent on the motions to compel. Both

Meredith Dudley's and Jeffery Tisak's billing entries, which total 81.6 hours, are generic and

repetitive. See, e.g., Def.'s Bill of Costs, Ex. C (6/15/11 Dudley entry stating "Motion to Compel

Servers - Prepare exhibits for upcoming motion per T. Kapshandy"; 8/9/11 Tisak entry stating

"Review NIAC documents for Motion to Compel Server as per T. Kapshandy"). Nevertheless,

because the Court recognizes that preparing numerous exhibits takes time, and because Dudley's

entries show somewhat more detail and variety than Tisak's, see, e.g., id. (6/10/11 Dudley entry

stating "Organize discovery materials, gather documents pertinent to upcoming motions and

upload to the shared server per T. Kapshandy"), the Court will allow compensation for 90% of

Dudley's hours and one half of Tisak's hours, consistent with the treatment of Dudley's hours in

Part A and Tisak's hours throughout the bill of costs.

       Finally, plaintiffs identify three entries that appear to relate to work done on defendant's

motion to compel damages discovery and not to the motions to compel production of the server

and membership lists. Although two of the three entries contain, respectively, the words "server"

and "membership" in addition to the word "damages," defendant has not argued that these entries

in fact related to the motions to compel production and only included the word "damages" by

mistake. See Def.'s Bill of Costs, Ex. C (8/8/11 Kapshandy entries). Hence, the Court will

subtract 1.5 hours for these two entries, and 0.7 hours for the third entry, which reflects work

done on the "damages motion to compel," see id. (8/11/11 Kapshandy entry). Making these


                                                 13
       Case 1:08-cv-00705-JDB Document 211 Filed 04/08/13 Page 14 of 19




reductions to the hours of Kapshandy,8 Tisak, and Dudley, the Court will award $20,838.25 on

the motions to compel.

       D.      Talebi Deposition

       Defendant requests $7,599.30 in fees and expenses associated with Babak Talebi's

deposition. See Def.'s Bill of Costs, Ex. D. Plaintiffs' only objection to the amount requested

relates to the 37 hours claimed for Tisak's work. As discussed in Part A above, the Court will

reduce these hours by 50% and hence award $6,720.55 on this item.

       E.      Obtaining March 29, 2011 Order

       Defendant requests $17,943.22 in fees and expenses associated with obtaining the Court's

March 29, 2011 Order directing plaintiffs to produce 5500 Talebi emails to the Court for in

camera review. See Def.'s Bill of Costs, Ex. E. Plaintiffs again object to the proportion of

attorney time spent by Kapshandy and to Tisak's hours. As above, the Court will reduce Tisak's

hours by 50%. The Court will not make a specific reduction to Kapshandy's hours, however.

Kapshandy's time on this item totals only 16.4 hours, and it is not unreasonable that these hours

constituted 40% of the attorney time on a disputed discovery issue. In addition, Kapshandy's

entries on this item are more transparent than his entries on the sanctions motion and motions to

compel production, allowing the Court to better assess the reasonableness of the hours claimed.

See Def.'s Bill of Costs, Ex. E (Kapshandy entries such as "Review Talebi emails," "Outline

discovery issues; review court order," "Office conference plaintiff counsel re discovery disputes,"

"Review plaintiffs status memo; prepare response," and "Prepare for status conference").



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         The Court first subtracted the 2.2 hours for unrelated work and then applied the 10%
reduction.

                                                14
        Case 1:08-cv-00705-JDB Document 211 Filed 04/08/13 Page 15 of 19




Because the time spent by Kapshandy on the listed tasks appears reasonable, the small reductions

made for other work and described above are not necessary here.

       In reviewing the entries on this item, however, the Court observes that many entries do

not reference the Talebi emails (or any obviously related topics), but simply reference, for

example, the status report, status conference, proposed discovery order, or other procedural

matters leading up to the March 29 Order. All of these procedural matters, however, concerned

not just the Talebi emails but other subjects as well. See Def.'s Report Regarding Status of

Discovery [ECF 87]; Def.'s Proposed Order Regarding Discovery [ECF 89]; Order (Mar. 29,

2011) [ECF 93] (order on Talebi emails and seven other discovery issues). Also included on

defendant's bill are travel expenses related to the March 4, 2011 discovery hearing, at which the

Talebi emails were just one of many issues discussed. See Def.'s Bill of Costs, Ex. E; 3/4/11 Tr.

of Discovery Hr'g [ECF 101]. Yet the Court granted sanctions for the expenses of obtaining the

portion of the March 29 Order concerning the Talebi emails, not for all expenses associated with

obtaining that order. See 9/13/12 Mem. Op. 15-16. Because the Court has no way of knowing

what proportion of the listed expenses actually relate to the Talebi emails, it will further reduce

the amount claimed (after the reduction to Tisak's hours) by 50% – a percentage reflecting, on the

one hand, that some entries specifically pertain to the Talebi emails, but, on the other hand, that

many entries refer to matters encompassing much more than the Talebi emails. See Tequila

Centinela, 248 F.R.D. at 69 (requiring "near but for" relationship between discovery violation

and sanction awarded). The resulting award is $8,605.86.

       F.      Third-Party Subpoenas

       Defendant requests $9,802.73 in third-party-subpoena expenses. See Def.'s Bill of Costs,


                                                 15
        Case 1:08-cv-00705-JDB Document 211 Filed 04/08/13 Page 16 of 19




Ex. F. In their objections to defendant's bill of costs, plaintiffs object to the lack of

documentation supporting the claimed costs to effectuate service. See Pls.' Objections 14-15.

Defendant has provided such documentation in an attachment to his reply. See Def.'s Reply, Ex.

4. As plaintiffs raise no further objections to the expenses claimed, the Court will grant the

requested amount in full. See Pls.' Surreply.

        G.      Parsi Deposition

        Defendant requests $12,808.78 in fees and expenses associated with the last half day of

Trita Parsi's deposition. See Def.'s Bill of Costs, Ex. G. Plaintiffs' only objection to the amount

requested relates to the 51.5 hours claimed for Tisak's work. As discussed in Part A above, the

Court will reduce Tisak's hours by 50%.

        Even after this reduction, however, the Court is troubled by the number of hours claimed

for this item: 34.5 hours for time spent by three different attorneys and 73.05 hours for time spent

by three different legal assistants. See Cobell v. Norton, 407 F. Supp. 2d 140, 161 (D.D.C. 2005)

("[F]ee requests must be scrutinized for 'excessive, redundant or otherwise unnecessary' hours

'which firms would have excluded from bills to their own clients.'" (quoting Hensley v.

Eckerhart, 461 U.S. 424, 434 (1983))). The deposition took less than a full day (5.5 hours,

according to defendant's bill of costs), see Def.'s Bill of Costs, Ex. G (5/11/11 Kapshandy entry),

and the deponent had already been deposed once before. In addition, the Court awarded these

deposition expenses to compensate defendant for extra costs that may have been incurred

because of plaintiffs' belated production of documents; it did not intend to compensate defendant

for costs he would have incurred if plaintiffs had timely completed production. See 9/13/12

Mem. Op. 19. Given the brief amount of actual deposition time, the fact that this partial day of


                                                  16
        Case 1:08-cv-00705-JDB Document 211 Filed 04/08/13 Page 17 of 19




deposition was a follow-on to a prior two-day deposition, and the uncertainty as to the reason

extra deposition time was needed, see id., the Court views the 100-plus hours spent by six

different people as excessive and will not award fees based on all of those hours. The Court will

apply an additional 33% reduction to the attorney hours and the already-reduced legal assistant

hours. This reduction brings the hours that will be credited on the Parsi deposition closer to the

hours claimed on the other two depositions at issue here, serving to compensate for the likely

redundancy in billing caused by the participation of so many individuals on this deposition. See

Def.'s Bill of Costs, Ex. D (5.5 attorney hours of deposition preparation claimed for seven-hour

Talebi deposition); id., Ex. H. (less than five attorney hours of deposition preparation claimed for

Blout redeposition); see also Copeland v. Marshall, 641 F.2d 880, 891 (D.C. Cir. 1980)

("[W]here three attorneys are present at a hearing when one would suffice, compensation should

be denied for the excess time."). The Court will thus award $8,439.31 on the Parsi deposition.

       H.      Blout Deposition

       Defendant requests $3,755.35 in fees and expenses associated with the second day of

Emily Blout's deposition. See Def.'s Bill of Costs, Ex. H. Plaintiffs' only objection to the

amount requested relates to the 24.2 hours claimed for Tisak's work. As discussed in Part A

above, the Court will reduce these hours by 50% and hence award $3,180.60 on this item.

       I.      Rule 54(d) Costs

       In addition to the expenses set forth in the Court's September 13, 2012 Memorandum

Opinion and Order, defendant seeks costs under Federal Rule of Civil Procedure 54(d). See

Def.'s Bill of Costs 3. That Rule provides that, "[u]nless a federal statute, these rules, or a court

order provides otherwise, costs – other than attorney's fees – should be allowed to the prevailing


                                                  17
        Case 1:08-cv-00705-JDB Document 211 Filed 04/08/13 Page 18 of 19




party." Fed. R. Civ. P. 54(d). Plaintiffs contend that the September 13 opinion and order

"provide[] otherwise," because the Court declined to "'impose as sanctions all fees and expenses

associated with the defense of this case'" and said that "the numerous issue-specific sanctions

awards that the Court has made are all that is appropriate here." See Pls.' Objections 13-14

(quoting 9/13/12 Mem. Op. 23-24).

       The Court's September 13, 2012 decision does not in any way preclude defendant from

recovering costs as the prevailing party under Rule 54(d). The Court determined that the issue-

specific sanctions awarded were all that were appropriate as sanctions. The Court said nothing

about costs under Rule 54, which entitles a prevailing party not to "all fees and expenses," but

only to the costs listed in 28 U.S.C. § 1920 and in Local Civil Rule 54.1(d). Defendant is the

prevailing party in this action, see Mem. Op. (Sept. 13, 2012) [ECF 189] (granting defendant's

motion for summary judgment), and therefore is entitled to costs under Rule 54(d).

       Aside from arguing that defendant is not entitled to any costs under Rule 54(d) because of

the Court's sanctions order, plaintiffs do not raise any specific objections to the costs defendant

seeks to recover under the Rule. Defendant requests $29,336.55 in fees for transcripts, witnesses,

and translations. While transcript and witness fees are properly taxable, see 28 U.S.C. § 1920(2)-

(3), fees for document translation are not, see id. § 1920(6); Taniguchi v. Kan Pacific Saipan,

Ltd., 132 S. Ct. 1997, 2007 (2012) (holding that "the category 'compensation of interpreters' in

§ 1920(6) does not include costs for document translation"); see also Def.'s Reply, Ex. 3-C

(invoice in amount of $310 for translation of files from Farsi to English). Accordingly, the Court

will deduct the translation fees and award $29,026.55 under Rule 54(d).

       J.      Summary


                                                 18
          Case 1:08-cv-00705-JDB Document 211 Filed 04/08/13 Page 19 of 19




          Tallying the fees and expenses for the items above, the Court will award $183,480.09 to

defendant. Defendant also requests prejudgment and postjudgment interest. In support of his

request for prejudgment interest, defendant merely cites D.C. Code § 28-3302, which sets the rate

of interest on District of Columbia judgments but does not give any indication as to why

defendant should be granted prejudgment interest. Absent further justification for increasing the

already-sizeable fee award here, the Court declines to award prejudgment interest. See Oldham

v. Korean Air Lines Co., 127 F.3d 43, 54 (D.C. Cir. 1997) ("Whether pre-judgment interest is to

be awarded is subject to the discretion of the court and equitable considerations." (internal

quotation marks and alteration omitted)). The Court will award postjudgment interest under 28

U.S.C. § 1961.

          Accordingly, for the foregoing reasons, it is hereby

          ORDERED that [200] plaintiffs' motion for leave to file a surreply is GRANTED; it is

further

          ORDERED that [202] plaintiffs' motion to strike defendant's verification of his final bill

of recoverable costs is DENIED; and it is further

          ORDERED that plaintiffs shall pay defendant $183,480.09 plus interest from September

13, 2012.

          SO ORDERED.


                                                     /s/ John D. Bates
                                                       JOHN D. BATES
                                                   United States District Judge

Dated: April 8, 2013



                                                  19
